                 AT
       Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 1 of 7

4 ,'
        Jan 16, 2024

                      FTL
                                                                                             FILE D
                                    IN THE UNIR'ED STATES DISTRICT COURT                  lktlk 03 2221
                                     FO R T11E N ORTHERN DISTRICT OF OHIO             (JtE..R6. U S. D;1$.rRlC :t-.k-'.-r'h1
                                                EA STERN D W ISION                   Nlqr    idFnrkDlS19IC)-OF Oi-li.      C)
                                                                                                 CLQ-VEL'AND


           UMTEDSTATESOFAMEMCA,                              tNDlC-TM:NTC R , û 2
                            Plaintiff,
                                                              1 :2 1
                                                             cAsE No.
                                                                    Title 18,united sutescode
           ALEN EN 1OORISHTI,                                           sections1001(a)(2)and1111
                            Defendant.                              JLBG.-E80.ïï0
                                           GEN ERAL ALLEGA TION S
                                                            OUR CASE NO: 24-6017-MJ-HUNT
                 Ata1ltimesmaterialto thisIndictment:

             A . lntroduction and Background
                            DefendantALEN ENlGORISHTIwasaCanadian National,employed by

          CompM y-l.

                 2.         Company-lwasaCanadiancorporationandtheownerofthetugPetiteForte(the
          tttugnl,wllich wasa Canadiallcommercialtowing vesselalld hadvesselidentificationnumber

          6826119.
                            Comparty-z wasaCarzadiancorporation and theownerofthebargeSt.M ary's

          Cement(theIibargenl,wltichwmsaCanadianeommercialbargeandhadvesselidentification
          nttm ber 8972077.

                 4.         '
                            fhetug and bargeoperated asacombined tmitknown asan Integrated TugBarge

          CITB PetiteForte'').
                            Victim-lownedTheLundCLtmd''),whichwœsa 1995LundTyeeGrandSport
           1850 recreation boat,and had vesselidentifcation ntlmber1,1> 171374143495 and state

          registration numberOH 8688BM .
Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 2 of 7




                 V ictim -z was afriend ofV ictim -l.
                                                                                                      l
      B. November6.2Q16
                 On oraboutNovem ber6,2016,Defendant,assecond m ate aboard the lTB Petite

   Forte,assumed thenavigationplwatch on the bridgeofthetug andbecameresponsibleforthe

   safenavigationand movem entofthe1TB Petite Fortefrom 12200p.m.to6:00 p.m .
          8.     Atapproxim ately 2:30 p.m .,Victim -l and Victim-z were fishing gom the Ltmd

   on LakeErieand anchored theLundapproximately 2.5milesnorth-northwestofFairport

   Harbor,Ohio,which waslocated in theNorthem DistrictofOhio,Eastem Division.

                 Atapproxim ately 4:33 p.m .,D efendantnavigated the lTB PetiteForte into the

   Lund,causing the Lund to capsize and V ictim -land V ictim -z to go into the w ater,resulting in

   Victim-llaterbeing rescuedthatdayand thebody ofdeceased Victim-z being discovered on

   shore nearConneaut,A shtabula County,Ohio,on January 14,2017.

                                              CO UN T 1
                             tseaman'sM anslaughter,18U.S.C.j1115)
   The Grand Jury charges:
                  Paragraphs 1through 9 ofthislndictm entare realleged and incorporated by

   reference asiffully setforthherein.
                  On or aboutN ovem ber6,2016,in theN orthern DistrictofOhio,Eastem

   D ivision,Defendant,A LEN EN IGO RISHTI,second m ate ofthe 1TB Petite Forte,tllrough

   m isconduct,negligenceand inattentionto hisdutiesonthe1TB PetiteForte,causedthe lifeof

    Victim -z to be destroyed,in violation ofTitle 18,Seclion 1115,United States Code.
    Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 3 of 7

$



                                                  COUN T 2
                       (FalseStatememstoLaw Enforcement,18U.S.C.jl001(a)(2))
                                                                                                       !
       TheGrand Jury furthercharges:
                      Paragraphs 1through 9 ofthislndictm entare realleged mld incop orated by

       referenceasiffully setforthherein.
                      From on oraboutNovember7,2016,to on oraboutNovember9,2016,in the

       N orthern D istrictofOhio,Emstern D ivision,DefendantM EN EN IG ORISHTIknoqvingly and

       willfully m ade m aterizly false,tictitious,and fraudulentstatem ents and representationsto

       UnitedStatesCoastGuardemployees,inamatterwithinthejurisdictionoftheexecutivebranch
       ofthe Govem m entofthe United States,thatis:D efendmztstated and represented thatthe lTB

       PetiteFortedid notallidewit.
                                  h theLund and claimed thathesaw the Lund in distressofftheport

       bow before the 1TB Petite Forte gotclose to the Lund. D efendantwellknew thisstatem entand

       representation were false,asforensic evidence and V ictim -l'sinterview showed thatthe 1TB

       Petite Forte allided with the Lund,in violation ofTitle 18,United States Code,Section

        1001(a)(2).


                                                           A TRUE BILL.




        Originaldocum ent -Signattlreson t'
                                          ile Nv-ith the Clerk ofCourts,pursuantto the E-Governm ent

       A c1of2002.
    Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 4 of 7

*




       U nited Statesv.A len EniGorishti


                                                 A TRU E BILL.




                                                 FO REPER SON


              BRID GET M .BREN N AN
              Acting United StatesAttom ey


       By:
              Edward F.Feran,Chief
              GeneralCrim e Unit




                                             4
Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 5 of 7


AO 442 (Rtv.I1/I1)ArrctWa.
                         rrant

                                 U NITED STATES D ISTRJCT COURT                              FILED BY            AT         D.C .
                                                        forthe                             E                                    l
                                                                                                                                .


                                                Nollhern DistrictofOhio                                    Jan 16,2024
                                                                                                                                !


               UnitedStatesofAmerica
                                                                                                      iooe
                                                                                                       œR Ktu
                                                                                                            aq,saos'r
                                                                                                                    p.t
                                                                                                        o.o:A,-;,.,FvL
                                                                                                           .
                                                                                                                      c.
                                                                                                                       cm
                            M.

                    AlanEniGorishti                              casexy'jz j rg                                82?
                                                             O U R CASE N O :24-6017-M J-PM H
                        Defendant
                                             ARR EST W A RR ANT
To:      Anyauthorized 1aw enforcementofficer

         YOU ARE COMM ANDED toarrestandbringbeforeaUnitedStatesmagistratejudgewithoutunnecessarydelay
ltmmtofpnrsontoàearrtsted) Alen EniGorishti                                                                            ,
whoisaccusedofanofenseorvlolation based onthefollowing document5led with thecourt:

V lndictment          O Supersedinglndictment      O Informatien O Supersedinglnfcrmatitn O Complaint
O Probation ViolationPetition       O Supervised ReleaseViolationPetition    O ViolationNotice O OrderôftheCcul

 Thi
   soflknseisbrieflydescribedasfollows:
  Seaman'sManslaughter,18U.S.C.â 1115
  FalseStatement,18U.S.C.â1001




 Date:1f'<
         1'Z-'
             $1
 Cityandstate: Cleyplapdcohip
                                                                               Printed nameandtitle

                                                        Return
         n iswarrantwasreceivedon(date)                      ,andtheperson wa.
                                                                             sarrested on ldnlel
 at(cit
      yJnd.
          wafe.
              l

 Date;
                                                                             Arresting oN cer'
                                                                                             sJ/gnozlzre


                                                                               printo nam.snzkz/z/e
#   Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 6 of 7




                              IN THE UNITED STATESDISTRICT COURT
                                                                                       F !
                                                                                       lkeo
                                                                                    #ppc,
                                                                                          ?#?/
                               IzoR4,14ENORTHERNDISTRICTOFOH1O N%%%tj))u
                                          EASTERN DIVISION                             rhzktojyypy.




         UNITEDSTATESOFAMERICA,                           CASENO.:
                                                                 1S1' 1 2q                            8r2
                      Plaintiff,                          M AGISTRATE JUDGE
                                                          DARRELL A .CLAY

                                                          M OTION TO SEAL INDJCTM ENT

         ALEN ENlG ORISHTI,

                       Defcndant.
              Now com es the United States ofAm erica,by and through counsel,BridgetM .Brennan,

        Acting United States Attorney,and Brian M .M cDonough,AssistantUnited StatesAttorney,and

        respectfully m ovesthisCourtforan ordersealing the attached indictm entforthe following

        reasons:Topreventflightofthedefendantandthepossibledestructionofevidenceifthe

        defendantwereto lealm ofthe indictm entpriorto being arrested.

              The governm entfurtherrequeststhisCourtto orderthatan AssistnntUnited States

        Attorney ofthcCriminalDivisionoftheUnited StatesAttom ey'sOfficefortheNorthern District

        ofOhio may obtain,upon reqtlest,acertitied copyofthisindictmentshould thedefendantbc

        locatedinanotherjudicialdistrictandaccrtificdcopyofthisindictmentisneeded
         Case 0:24-mj-06017-PMH Document 1 Entered on FLSD Docket 01/16/2024 Page 7 of 7

$
    1-
    1
             forforwardingtothatjudicialdisttict.SeeRule6(e)(4)oftheFederalRulesofCHIIIU'II
             Procedure.
                                                                                               !
                                                           Respectfully subm itted,

                                                           BRID GET M .BREN NAN
                                                           Acting United StatesAûorney

                                                    By:
                                                                 '
                                                                          .     -* ..A
                                                           BrianM.McDonough(OH;0         54)
                                                           AssistantUnited States Attorney
                                                           United StatesCourtHouse
                                                           801W estSuperiorAvenue,Suite400
                                                           Cleveland,OH 44113
                                                           (216)622-3965
                                                           (216)522-8354(facsimile)
                                                           Brian.McDonough@ tlKdoj-gov




                                                       2
